












NUMBER 13-03-655-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


TOMMY ALLEN THOMAS,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 2nd 25th  District Court 


of Lavaca County, Texas.


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MEMORANDUM OPINION



Before Justices Rodriguez, Castillo, and Garza


Opinion Per Curiam



	Appellant, TOMMY ALLEN THOMAS, attempted to perfect an appeal from a
judgment entered by the 2nd 25th  District Court of Lavaca County, Texas.  Sentence
in this cause was imposed on August 19, 2003.  No motion for new trial was filed. 
 The notice of appeal was due to be filed on September 18, 2003, but was not filed
until September 22, 2003.   Said notice of appeal is untimely filed. 

	Tex. R. App. P. 26.3 provides that the court of appeals may grant an extension
of time for filing notice of appeal if such notice is filed within  fifteen days of the last
day allowed and within the same period a motion is filed in the court of appeals
reasonably explaining the need for such extension.  Appellant failed to file his notice
of appeal and a motion requesting an extension of time within such period. 

	The Court, having considered the documents on file and appellant's failure to
timely perfect his appeal, is of the opinion that the appeal should be dismissed for
want of jurisdiction.  The appeal is hereby DISMISSED FOR WANT OF JURISDICTION.

	

								PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).


Opinion delivered and filed this

the 26th day of November, 2003.







							


